Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 1 of 12 PageID #: 58




                         EXHIBIT B
Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 2 of 12 PageID #: 59




                                                              PRECISION
             Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 3 of 12 PageID #: 60

INN VATION


                                                                                      Proven Imaging Precision.
                                                                                      The iTero® Intraoral Scanner is synonymous with high
                                                                                      precision. Its parallel confocal imaging technology uses
                                                                                      optical and laser scanning to achieve high precision
                                                                                      and accuracy without powder or complicated hovering.
                                                                                      This is why iTero scanners have been used in more than
                                                                                      1.2 million restorative crown, bridge, and custom implant
                                                                                      abutment cases. And doctors have performed more
                                                                                      than 1.3 million iTero orthodontic scans, including more
                                                                                      than 600,000 Invisalign® scans, to date.

                                                                                      Now, iTero® Element™ is engineered to deliver everything
                                                                                      that doctors love about iTero scanners in a compact
                                                                                      footprint with even bigger capabilities. iTero Element is
                                                                                      designed to put the latest technology at your fingertips
                                                                                      and make intraoral scanning…dare we say…fun.
                                                            Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 4 of 12 PageID #: 61



Meet iTero Element
The iTero Element Intraoral Scanner is designed to fit your practice
even better than before. Whether you are a general practitioner or
orthodontist, iTero Element is designed to deliver speed, reliability,
                                                                                                                                             REAL-TIME VISUALIZATION                                    TIME SAVINGS

intuitive operations, and outstanding visualization capabilities.                                                                          Industry-leading, open-choice
                                                                                                                                      imaging lets you view images in 3D.
                                                                                                                                                                                      With a scan capture time of 40-50
                                                                                                                                                                                          milliseconds, iTero Element is
                                                                                                                                       Easy visualization improves visibility         designed to capture 20 scans per
                                                                                                                                             and chairside communication            second, instead of the current iTero
                                                                                                                                                              with patients.            scanner’s one scan per second.




                            CERTIFIED
     CONNECTIVITY WORKFLOWS                                                  ADVANCED WAND FEATURES
  iTero Element scans are engineered                                         The redesigned wand features built-in
    to work with the Invisalign system,                                      controls, including side buttons and
     the exclusive Invisalign Outcome                                        touchpad for user interface control.
Simulator, OrthoCAD®, and OrthoCAD                                           Integrated gyro technology lets you                       HIGH-DEFINITION
 Viewer. It’s also designed to connect                                       rotate models on screen. Plug and                  MULTI-TOUCH DISPLAY
   to restorative and orthodontic labs,                                      play wand cable quickly connects           Scanned images appear instantly
        third-party treatment planning,                                      and disconnects to the base unit. And             with crisp definition on the
 custom implant abutment, chairside                                          the patent pending ITO defogging             19” high-definition, multi-touch
 milling, and lab CAD/CAM systems.                                           system defogs instantly without          display. The display also works with
                                                                             needing air or extended warming.               latex, vinyl, and nitrile gloves.


                                                                                                                                   INTUITIVE OPERATION
                                                                                                                          Intuitive operation can transform
                                                                                                                     clinical workflows. Spin, pinch zoom,
          COMPACT FOOTPRINT
                                                                                                                         and process images with a touch.
    With iTero Element, you can fit
     high-precision scanning power
almost anywhere. Choose between
two form factors for the option that
             best fits your practice.

                                                                             CUSTOM WHEEL STAND OPTION
                                                                             Move the iTero Element intraoral
                                                                             scanner easily between operatories.




                                                                                                                                                          CONVENIENT                           COLOR SCANNING
                                                                                                                                            COUNTER STAND OPTION                               View color images to easily
                                                                                                                                    Integrate iTero Element as a stationary                    distinguish between gingival
                                                                                                                                            scanner within the operatory.                      and dental tissue for more
                                                                                                                                                                                               precise clinical evaluation.




                                40%
                        SMALLER AND LIGHTER
                                                                    6,000
                                                                  FRAMES PER SECOND
                                                                                                                                                  20X
                                                                                                                                                FASTER SPEED
                                                                                                                                                                                                      3D
                                                                                                                                                                                       HIGH-IMPACT VISUALIZATION

   The redesigned wand is 40% smaller and lighter   iTero Element is engineered to capture 6,000 frames                     iTero Element image sensor is designed              Show patients exactly what you see for more
   than the wand of the current iTero scanner.      per second—significantly faster than the current                        to enable 20X faster scan speed versus the          effective chairside communication.
                                                    iTero’s 800 frames per second.                                          current iTero scanner.
                                                        Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 5 of 12 PageID #: 62




                                                                                                                                                                                                                      POWERFUL
Simultaneously Smart and Powerful
In addition to its sleek good looks, the iTero Element includes
intelligence designed to help you work even smarter. You can
eliminate extra process steps during intraoral scanning because
iTero Element is designed to automate those for you.                                                                                                             SMALLER WAND
                                                                                                                                                                 40% smaller and lighter than the
                                                                                                                                                                 current iTero system’s wand.




                                                                                                             SCAN IN MOTION                                      SCAN IN COLOR
                                                                                                             Continuous scanning design lets you scan in         Color scanning gives you a significant leap
                                                                                                             motion—eliminating the need to click each           forward in visualization. The color sensor is
                                                                                                             time you want to capture a scan. The software       integrated in iTero Element, and the patented
                                                                                                             automatically detects and repositions scanning      dual-aperture lens system is designed to
                                                                                                             start and stop points when you move to a new        simultaneously capture 2D images in color
                                                                                                             scanning position within the scanned segment.       with highly accurate 3D laser scanning. Color
                                                                                                                                                                 scanning can make it easier to immediately
                                                                                                             And while you are scanning, iTero Element is
                                                                                                                                                                 distinguish between gingival and tooth
                                                                                                             engineered to simultaneously process the scan.
                                                                                                                                                                 structures for a more precise clinical evaluation.
                                                                                                             It automatically stitches together images for
                                                                                                             rendering in the correct order, adapts to changes
                                                                                                                                                                 SCAN AND SAVE DATA
                                                                                                             in positioning, and detects and removes soft
                                                                                                                                                                 iTero Element is designed to automatically save
                                                                                                             tissue. Capture everything. And view exactly
                                                                                                                                                                 scan data every two seconds and save it to the
                                                                                                             what you need to see.
                                                                                                                                                                 system’s hard disk. There’s no need for a battery
                                                                                                                                                                 backup. Even in the event of a power outage,
Powder-free scanning designed for ease of use.    Easily distinguish between gingival and tooth structures                                                       scan data is safe, so you don’t have to worry
                                                  with color scanning.                                                                                           about losing your work.
                                                           Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 6 of 12 PageID #: 63




Optimized Invisalign Connectivity
iTero intraoral scanning is a natural fit for Invisalign clear aligner
therapy. iTero has been designed to give you the best workflow with
the Invisalign system and the exclusive Invisalign Outcome Simulator.                                    SIMULATE TREATMENT OUTCOMES
                                                                                                         Show your patients their potential Invisalign treatment outcomes with the Invisalign
                                                                                                         Outcome Simulator. This chairside application is powered exclusively by iTero

                MARKET-LEADING PERFORMANCE
                                                                                                         scanners to help patients visualize how their teeth may look at the end of Invisalign

                Invisalign cases that start with an iTero scan have seven times fewer fit issues         treatment. Simulated outcomes make it easy to show your patient the benefits

                than those started with traditional impressions. ClinCheck® treatment plans              possible with Invisalign treatment and may motivate greater patient acceptance.

                submitted using iTero scans are typically posted 50% faster than for cases using
                PVS impressions. Not only that, there are 10 times fewer rejections of iTero scans
                than traditional impressions. You can see these, and other study findings,
                at www.itero.com/itero-and-invisalign.html.

                But the outstanding performance by iTero scanners doesn’t stop with initial Invisalign
                treatment. The iTero Vivera® and Vivera Pre Debond scan workflows allow you to
                prescribe Vivera retention for Invisalign clear aligner and bracket-and-wire patients.


                GREAT PATIENT COMFORT
                iTero scanners also eliminate the mess and unpleasantness associated with traditional
                impressions. Your Invisalign patients are more likely to share their “gag-free”
                impression experience with friends, family, and colleagues.




                                      DUAL-VIEW LAYOUT                                                   REAL-TIME ADJUSTMENTS            ADVANCED
                                      See patients’ current dentition                                    Intuitive touch-screen tools     TREATMENT OPTIONS
                                      next to their simulated                                            allow real-time adjustments to   You can simulate anterior-
                                      final positions.                                                   the simulated outcome.           posterior correction, extraction,
                                                                                                                                          and IPR outcomes quickly
                                      MORE EFFECTIVE                                                     FLEXIBLE DELIVERY                and easily.
                                      CONSULTATION                                                       The Invisalign Outcome
                                      Prospective patients can                                           Simulator can be run chairside
                                      visualize how their teeth may                                      on your iTero scanner or in a
                                      look after Invisalign treatment,                                   consult room, using your
                                      which may motivate greater                                         computer and myaligntech.com.
                                      treatment acceptance.
                                             Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 7 of 12 PageID #: 64

ECOSYSTEM
            iTero Orthodontic
            Digital Ecosystem
            The iTero Element has been designed to work with the iTero                                 LABORATORY CONNECTIVITY
                                                                                                       Send iTero scans directly to the laboratories of your choice for
            Orthodontic Digital Ecosystem, which enables you to digitize                               processed orthodontic appliances, retainers, printed models,
            orthodontic workflows. Increase efficiency with digitally                                  indirect bonding, and digital bracket removal services.

            enabled tools provided by iTero scanners that transform                                    OPEN STL EXPORT

            tasks you currently perform manually.                                                      iTero scans are available in an open STL export format that
                                                                                                       is widely accepted by third-party providers including
                                                                                                       Suresmile® and 3M™ Incognito™. Scans also can be exported
                                                                                                       for integration with cone beam CT data by third-party
                                                                                                       treatment planning providers.
Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 8 of 12 PageID #: 65




                                                                                        ORTHOCAD CAPABILITIES
                                                                                        iTero scans can be used directly with OrthoCAD software
                                                                                        for digital orthodontics. Both iCast® files and iRecord® files
                                                                                        are stored and retrieved easily from cloud storage in your
                                                                                        MyAligntech.com account. iCast scans are digital alternatives
                                                                                        to stone cast models and contain a full ABO base. iRecord
                                                                                        scans include a full arch scan with the palate, and bite. You
                                                                                        can easily view and print frontal, occlusal, and gallery views
                                                                                        from iTero scans with OrthoCAD.

                                                                                        OrthoCAD offers a full suite of digital orthodontic tools including:

                                                                                        Digital Analytics: Take teeth width, space, T-J Moyers, Bolton,
                                                                                        arch width, canine distance, and overbite/overjet measurements,
                                                                                        including point-to-point, point-to-plane, and plane-to-plane
                                                                                        measurements with OrthoCAD Software. Combined with the
                                                                                        Occlusalgram, Computerized Discrepancy Index, Phase III
                                                                                        Grading, and Jaw Alignment, OrthoCAD offers a comprehensive
                                                                                        suite of digital tools for orthodontic evaluation.

                                                                                        Practice Management Integration: OrthoCAD integrates
                                                                                        with the Dolphin Management orthodontic practice
                                                                                        management system. This allows iTero scan data to be
                                                                                        linked with your patients’ records.




                                        Orthodontic model photo courtesy of Dynaflex.
                                            Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 9 of 12 PageID #: 66

ECOSYSTEM
            iTero Restorative
            Digital Ecosystem
            You can take advantage of numerous third-party workflows                                  SUPPORT LABORATORY PRODUCTION
                                                                                                      iTero workflows support laboratory production using patented
            and solutions simply by connecting through an iTero scanner.                              iTero milled models, laboratory printed models, and model-
            Send digital impressions to your lab of choice. Communicate                               less direct-to-restoration production. Choose the treatment
                                                                                                      and lab that are right for your patients’ crowns, bridges, implant
            seamlessly with external treatment planning, custom implant                               custom abutments, veneers, inlays, and onlays. And iTero
            abutment, chairside milling, and laboratory CAD/CAM                                       scanners work with any material, including porcelain, PFM,
                                                                                                      zirconia, composite, and full gold.
            systems. iTero intraoral scans can enhance the accuracy
                                                                                                      POWDER-FREE OPERATION
            and precision of your downstream restorative process.
                                                                                                      Powder-free operation enables comprehensive, full-mouth
                                                                                                      reconstruction and safe scanning of surgical sites. Export iTero
                                                                                                      restorative scans in STL format to leading laboratory CAD/
                                                                                                      CAM systems. And integrate iTero scans with cone beam CT
                                                                                                      data for use with third-party treatment planning providers.


                                                                                                      EXCLUSIVE MILLED MODEL WORKFLOW
                                                                                                      Only iTero scanning enables model milling for superior
                                                                                                      accuracy and precision. The patented iTero milled model,
                                                                                                      made of a stable polyurethane material, presents numerous
                                                                                                      advantages when used in the iTero process.




                                                                                                                                                                   ITERO MILLED RESTORATIVE MODEL
                                                                                                                                                                    	 One model serves as a working model and a master model,
                                                                                                                                                                       enabling soft tissue structures to be visualized during
                                                                                                                                                                       laboratory fabrication

                                                                                                                                                                    	 Occlusal relation is scanned directly and efficiently transferred
                                                                                                                                                                       to the unique iTero articulator

                                                                                                                                                                    	 Exceptional resistance to wear when used in the
                                                                                                                                                                       dental laboratory

                                                                                                                                                                    	 Resulting models do not break if accidentally dropped

                                                                                                                                                                    	Plaster-like color is similar to conventionally poured models
                                                                                     Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 10 of 12 PageID #: 67




CUSTOM ABUTMENT WORKFLOW
iTero includes Certified Connectivity with a wide range of implant
scan body and implant abutment manufacturers. Scan the scan
body of your choice and send the iTero scan automatically to
your laboratory. You can receive the custom abutment and final                                                                                                           PERFORM SAME-DAY DENTISTRY
restoration for seating in one patient appointment.                                                                                                                      Certified connectivity with the E4D Planmeca chairside milling system and Glidewell
                                                                                                                                                                         IOS Technologies Fast Design system let you add same-day crowns, inlays, onlays,
Our Certified Connectivity Partners support more than 20 implant
                                                                                                                                                                         veneers, and bridges to your menu of services. With iTero Chairside Milling Certified
systems for custom abutment design and fabrication, including:
                                                                                                                                                                         Connectivity partners, you can go from digital impression to same-day restoration
                                                                                                                                                                         placement quickly and conveniently.
  5Axis   Dental	                  DENTSPLY     Implants
  Biomet   3i™		                   Atlantis™
  Core3d    Centres                Glidewell   Laboratories
                                    Straumann®

                                    Zimmer   Dental



STRAUMANN REPOSITIONABLE IMPLANT
ANALOG WORKFLOW
Straumann Repositionable Implant Analogs are inserted into
custom iTero milled models. Now you can choose between
Straumann stock or Straumann CARES custom abutments for
your implant restorative cases.
                                                                                                                                                SCAN                                      DESIGN                                       MILL
                                                                                                                                    iTero Element Intraoral Scanner                   Partner System                              Partner System




BELLATEK ® ENCODE ® IMPRESSION SYSTEM DIGITAL IMPLANT WORKFLOW




  01                                              02                                      03                                       04                                       05
             BellaTek Encode Healing                         Powder-free iTero digital           iTero digital impression STL              Restoration fit verified on                Final restoration placed
             Abutment placed intraorally                     impression captured.                imported by the dental                    milled die and abutment.                   immediately following the
             for scanning.                                                                       laboratory into CAD software.                                                        abutment.
                                                     Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 11 of 12 PageID #: 68




Training and Support as Advanced
                                                                                                                                                                        62.5 cm                          59.5 cm
                                                                                                                                                                        [24.6 in]                        [23.4 in]



as iTero Element Itself
The advanced technology and design of the new iTero Element scanner
transforms in-office training and integration. Gain scheduling flexibility,
experienced iTero clinical trainers, and ongoing training support to
maximize the benefits of iTero scanning for your practice.
                                                                                                                                        131.7 cm
               TRAINING FOUNDATIONS                                                                                                      [51.8 in]
               Training Foundations guides you through interactive, self-guided online training
               at iTero.com. By the end of this training, you will have basic proficiency with the
               hardware and software to complete a practice scan. This training is eligible for CERP
               continuing education credit.


               THE CLINICAL CORE
               Throughout the Clinical Core, an iTero clinical instructor will conduct 4 hours of
               clinical training using our interactive virtual classroom and e-guidebooks. iTero
               Element comes with a webcam, through which you and your staff participate in this
               training. Scheduling is flexible, and the instructor has remote access to the scanner
               to view scanning and provide real-time feedback. After Clinical Core training, you will
               have the skills for successfully using iTero Element in your practice.


               ADVANCED EDUCATION                                                                        iTero Element General Dimensions
               Looking for advanced training from a peer? Hired a new staff member? Need
               a refresher? Our team of iTero clinical trainers is here to meet your ongoing             WAND CONFIGURATION                    WHEEL STAND CONFIGURATION              COUNTER STAND CONFIGURATION

               training support needs in scheduled webinar group classes and one-on-one                   	Weight:   0.5 Kg [1.1 lb]                	Weight:   25 kg [55.1 lbs]      	Weight:   14 Kg [31 lbs]
               virtual support sessions.                                                                  	Field   of View: 18x14 mm                	Height:   131.7 cm [51.8 in]    	Height:   48 cm [18.9 in]
                                                                                                          	Depth    of View: 15mm                   	Width:   62.5 cm [24.6 in]      	Width:   55 cm [21.7 in]
                                                                                                          	Cord    Length: 1.75 m                   	Depth:    59.5 cm [23.4 in]     	Depth:    23 cm [9.01 in]




                                                                                                                                                                         55 cm                            23 cm
                                                                                                                                                                        [21.7 in]                        [9.01 in]




                                                                                                                                             48 cm
                                                                                                                                            [18.9 in]
           Case 1:18-cv-00886-UNA Document 1-2 Filed 06/14/18 Page 12 of 12 PageID #: 69




The iTero Element Intraoral Scanner represents the next
generation of iTero intraoral scanning design capabilities.
Engineered to be portable, powerful, and intuitive. It
represents our continued investment in clinical precision
and patient satisfaction. To schedule a demonstration,
visit www.iTero.com.

Align Technology, Inc.                                     Align Technology BV
2560 Orchard Parkway                                       Arlandaweg 161, 1043 HS Amsterdam
San Jose, California 95131                                 The Netherlands




INVISALIGN, CLINCHECK, iTERO, iTERO ELEMENT, ORTHOCAD, iRECORD, and iCAST among others,
are trademarks and/or service marks of Align Technology, Inc. or one of its subsidiaries or affiliated
companies and may be registered in the U.S. and/or other countries.

Data referenced is available from Align Technology, Inc.

Implant Scan Body Business partners (e.g. BIOMET 3i, Straumann, etc) have validated their implant solutions
using iTero scanners. Availability may vary by partner and by market.

Suresmile, Dolphin Management, E4D Planmeca, IOS Technologies Fast Scan, 5 Axis Dental, Biomet 3i,
Core3d Centres, DENTSPLY Implants Atlantis, Glidewell Laboratories, Straumann and Zimmer are not
registered trademarks of Align Technology, Inc. They are trademarks of their respective owners.

Image credits:
Dentistry and iTero scan by Dr. Adam Fettig, Kirkland, WA
Laboratory restorations fabricated by Issaquah Dental Lab, Issaquah, WA
Implant Abutment fabricated by Biomet 3i

© 2015 Align Technology, Inc.    M20324 Rev. A
